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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA


Preston Byron Knapp,                             Case No: 0:24-cv-00434 (DWF/ECW)

             Plaintiff,
                                                    DECLARATION OF TESSA
vs.                                               MANSFIELD HIRTE IN SUPPORT
                                                  OF DEFENDANT’S MOTION TO
Wings Credit Union; AKA Wings Financial                    DISMISS
Credit Union,

             Defendant.



STATE OF MINNESOTA                )
                                  ) ss.
COUNTY OF HENNEPIN                )

      Tessa Mansfield Hirte states as follows:

      1.     I am an attorney with the law firm of Foley Mansfield, representing

Defendant Wings Financial Credit Union (“Wings”) in the above-referenced matter. I

make this affidavit in support of Wings’ motion to dismiss.

      2.     Attached hereto as Exhibit 1 is a true and correct copy of the Mortgage.

      3.     Attached hereto as Exhibit 2 is a true and correct copy of the Note.

      4.     Attached hereto as Exhibit 3 is a true and correct copy of the Revolving

Credit Mortgage for Wings Home Equity Line of Credit.

      5.     Attached hereto as Exhibit 4 is a true and correct copy of the Open-End

Home Equity Credit Agreement and Truth in Lending Disclosure.

      6.     Attached hereto as Exhibit 5 is a true and correct copy of the documents

Wings received from Brandon Joe Williams on January 11, 2024.
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       I declare under penalty of perjury that everything I have state above is true and
correct.

Dated: March 13, 2024

                                          /s/ Tessa Mansfield Hirte
                                          Tessa Mansfield Hirte




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